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effectively “focus solely on your market and the area surrounding your
center”;

ix. That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

x. That Cottman would provide franchisees “complete and total support"
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

xi. That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff";

xii. That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

xiii. That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

xiv. That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAN|CO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

xv. That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

125. Under the terms of the New Hampshire Act, and as a result of Defendant’s
unlawful conduct, Plaintiffs John Tonneson and Achushnet Transmission, LLC are

entitled to recover damages, as well as attorneys’ fees and costs.

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126. While the precise amount of Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise

amount to which Plaintiff is entitled will be presented at a trial on the merits of this

matter.
COUNT SlXTEEN
VlOLAT|ON OF THE NEW HAMPSH|RE CONSUMER PROTECT|ON ACT -
N.H. REV. STAT. ANN. §§ 358-A:1 ET SEQ.
PLA|NT|FFS JOHN TONNESON AND ACUSHNET TRANSM|SS|ON, LLC.
AGA|NST DEFENDANTS COTTMAN AND ROSS
127. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.
128. Under the terms of the applicable law of the State of New Hampshire,
Plaintiffs John Tonneson and Acushnet Transmission, lnc. are “persons” under the

definitions of the Act, and therefore are entitled to the protections of the New Hampshire
Consumer Protection Act.

129. Under the terms of the New Hampshire Act, it is unlawful for Defendants
such as Cottman and Ross to engage in a deceptive act or practice in the conduct of
any trade or commerce within this state.

130. By and through the following conduct, Cottman and Ross have violated

the law of the State of New Hampshire:

i. Ross placed advertisements for Plaintiffs that contained significant
errors;

ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

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iii. After establishing individual “accounts" for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

iv. Cottman failed to refund the unspent amounts in a Plaintiffs account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

131. Under the terms of the Act, and as a result of Defendants’ unlawful
conduct, Plaintiffs John Tonneson and Achushnet Transmission, LLC are entitled to
recover damages, as well as attorneys’ fees and costs.

132. While the precise amount of Plaintiffs’ damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT SEVENTEEN
VlOLAT|ON OF THE NORTH CAROL|NA CONSUMER PROTECT|ON ACT -
N.C. GEN. STAT. §§ 75-1 ET SEQ.
PLA|NT|FFS PRAV|N PATEL, NARAN, lNC., MARK VAND|V|ER, AND
MKV SERV|CES, lNC. AGA|NST DEFENDANT COTTMAN

133. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

134. Under the terms of the applicable law of the State of North Carolina,

Plaintiffs Pravin Patel, Naran, lnc., Mark Vandivier, and MKV Services, lnc. are

protected by North Carolina law.

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135. Further, under the terms of the North Carolina Act, it is unlawful for a
Defendant such as Cottman to engage in unfair or deceptive acts or practices in or
affecting commerce.

136. Cottman has violated the law of the State of North Carolina by making the
following false representations and material omissions:

i. That Cottman System franchisees do not need automotive experience
to succeed;

ii. That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

iii. That the average sales for Cottman System franchisees were over
$500,000;

iv. That the average profit realized by Cottman System franchisees was
over $100,000;

v. That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

vi. That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

vii. That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

viii. That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

ix. That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

x. That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training

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xi.

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XV.

program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical stafl”;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

137. Defendant Cottman, by its decision to merge the Cottman System into

AAMCO, has engaged in unfair competition in violation of the Act by, among other

things:

Failing to “continue to develop, promote, and protect the goodwill and
reputation associated with the Cottman names and marks and the

Cottman System”;

Encouraging Cottman franchisees to convert to AAMCO, significantly
diminishing the number of existing Cottman franchises;

Refusing to permit franchisees participating in this litigation to convert
to the AAMCO brand;

Ceasing to offer new Cottman franchises or to grow the Cottman
System; and

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v. Favoring AAMCO over Cottman and permitting AAMCO stores to
compete with existing Cottman franchises in areas in which
Franchisees were protected from competition by their franchise
agreements

138. As a result of these unfair acts, Franchisees still in business as of the date

of the merger transaction have been harmed in the following ways, among others:

i. The merger has placed Franchisees at a competitive disadvantage
For example, since the AAMCO merger, there has been a substantial
decrease in the number of Cottman centers and a correlative increase
in the number of AAMCO centers, as Cottman franchisees not
participating in the litigation are encouraged to switch to AAMCO. Prior
to the merger, there were over 400 Cottman centers available to
provide national warranty service. This gave Cottman franchisees a
strong marketing advantage. Now, as a result of the merger, there has
been a very significant decrease in the number of Cottman centers,
placing franchisees who did not or could not convert to AAMCO at a
competitive disadvantage

ii. The significant diminution in the number of Cottman centers resulting
from the AAMCO merger has diluted the value of the Cottman brand.

iii. The loss of business resulting from the negative effects of the merger
has forced some Franchisees to close their doors, effecting a de facto
termination of their franchise agreements.

139. Under the terms of the Act, and as a result of Defendant’s unlawful
conduct, Plaintiffs Pravin Patel, Naran, lnc., Mark Vandivier, and MKV Services, lnc. are
entitled to recover damages, treble damages, as well as attorneys’ fees.

140. While the precise amount of each Plaintiffs damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT ElGHTEEN
V|OLAT|ON OF THE NORTH CAROL|NA CONSUMER PROTECT|ON ACT -
N.C. GEN. STAT. §§ 75-1 ET SEQ.
PLA|NT|FFS PRAV|N PATELl NARANl lNC.l MARK VAND|V|ERl AND
MKV SERV|CES, lNC. AGA|NST DEFENDANTS COTTMAN AND ROSS

141. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

142. Under the terms of the applicable law of the State of North Carolina,
Plaintiffs Pravin Patel, Naran, lnc., Mark Vandivier, and MKV Services, lnc. are
protected by North Carolina law.

143. Further, under the terms of the North Carolina Act, it is unlawful for
Defendants such as Cottman and Ross to engage in unfair or deceptive acts or
practices in or effecting commerce.

144. By and through the following conduct, Defendants have violated the law of

the State of North Carolina:

i. Ross placed advertisements for Plaintiffs that contained significant
errors;

ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

iii. After establishing individual “accounts" for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

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iv. Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

145. Under the terms of the Act, and as a result of Defendants’ unlawful
conduct, Plaintiffs Pravin Patel, Naran, lnc., Mark Vandivier, and MKV Services, lnc. are
entitled to recover damages, treble damages, as well as attorneys’ fees.

146. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT N|NETEEN
V|OLAT|ON OF THE OHlO UNFA|R DECEPT|VE AND UNCONSC|ONABLE
ACTS OR PRACTlCES ACT -
OH|O REV. CODE ANN. §§1345-01 ET SEQ.

PLA|NT|FFS C. JAMES BLUE, XTRANX, lNC., ER|C J. EBEL|NG, EJE, lNCg
THOMAS C. HAVA|CH, HAVA|CH TRANSM|SS|ON, LLC, JOHN MULLEN,
KJV ENTERPR|SES, lNC., FRANK TAMBURELLO, AND FRAG|N, lNC.
AGA|NST DEFENDANT COTTMAN

147. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

148. Under the terms of the applicable law of the State of Ohio, Plaintiffs C.
James Blue, Xtranx, lnc., Eric J. Ebeling, EJE, lnc., Thomas C. Havaich, Havaich
Transmission, LLC, John Mu|len, KJV Enterprises, lnc., Frank Tamburello, and Fragin,
lnc. are both “persons" and “consumers” meant to be protected by the terms of the Ohio

Act. Moreover, Defendants are “suppliers” and are meant to be subject to the

prohibitions contained within the Ohio Act.

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149. Further, under the terms of the Ohio Act, it is unlawful for a supplier to
commit an unfair or deceptive act or practice in connection with a consumer transaction.
Such an unfair or deceptive act or practice by a supplier who violates the Ohio Act is
unlawful whether it occurs before, during, or after the transaction.

150. Cottman has violated the law of the State of Ohio by making the following
false representations and material omissions:

i. That Cottman System franchisees do not need automotive experience
to succeed;

ii. That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

iii. That the average sales for Cottman System franchisees were over
$500,000;

iv. That the average profit realized by Cottman System franchisees was
over $100,000;

v. That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

vi. That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

vii. That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

viii. That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

ix. That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

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xi.

xii.

xiii.

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XV.

151.

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff”;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

Defendant Cottman, by its decision to merge the Cottman System into

AAMCO, has engaged in unfair acts in violation of the Act by, among other things:

Failing to “continue to develop, promote, and protect the goodwill and
reputation associated with the Cottman names and marks and the
Cottman System”;

Encouraging Cottman franchisees to convert to AAMCO, significantly
diminishing the number of existing Cottman franchises;

Refusing to permit franchisees participating in this litigation to convert
to the AAMCO brand;

Ceasing to offer new Cottman franchises or to grow the Cottman
System; and

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Favoring AAMCO over Cottman and permitting AAMCO stores to
compete with existing Cottman franchises in areas in which
Franchisees were protected from competition by their franchise
agreements.

152. As a result of these unfair acts, Franchisees still in business as of the date

of the merger transaction have been harmed in the following ways, among others:

The merger has placed Franchisees at a competitive disadvantage
For example since the AAMCO merger, there has been a substantial
decrease in the number of Cottman centers and a correlative increase
in the number of AAMCO centers, as Cottman franchisees not
participating in the litigation are encouraged to switch to AAMCO. Prior
to the merger, there were over 400 Cottman centers available to
provide national warranty service This gave Cottman franchisees a
strong marketing advantage Now, as a result of the merger, there has
been a very significant decrease in the number of Cottman centers,
placing franchisees who did not or could not convert to AAMCO at a
competitive disadvantage

The significant diminution in the number of Cottman centers resulting
from the AAMCO merger has diluted the value of the Cottman brand.

The loss of business resulting from the negative effects of the merger
has forced some Franchisees to close their doors, effecting a de facto
termination of their franchise agreements.

153. Under the terms of the Act, and as a result of Defendant’s unlawful

conduct, Plaintiffs C. James Blue, Xtranx, lnc., Eric J. Ebeling, EJE, lnc., Thomas C.

Havaich, Havaich Transmission, LLC, John Mu|len, KJV Enterprises, lnc., Frank

Tamburello, and Fragin, lnc. are entitled to recover damages, as well as attorneys’ fees.

154. While the precise amount of each Plaintiffs damages cannot now be

determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY
VlOLATlON OF THE OHlO UNFA|R DECEPT|VE AND UNCONSC|ONABLE
ACTS OR PRACT|CES ACT -
OHlO REV. CODE ANN. §§ 1345-01 ET SEQ.

PLA|NT|FFS C. JAMES BLUE, XTRANX, lNC., ER|C J. EBEL|NG, EJE, |NC..
THOMAS C. HAVA|CH, HAVA|CH TRANSM|SS|ON, LLC, JOHN MULLEN.
KJV ENTERPR|SES, lNC., FRANK TAMBURELLO, AND FRAG|N, lNC.
AGA|NST DEFENDANTS COTTMAN AND ROSS

155. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

156. Under the terms of the applicable law of the State of Ohio, Plaintiffs C.
James Blue, Xtranx, lnc., Eric J. Ebeling, EJE, lnc., Thomas C. Havaich, Havaich
Transmission, LLC, John Mu|len, KJV Enterprises, lnc., Frank Tamburello, and Fragin,
lnc. are both “persons" and “consumers” meant to be protected by the terms of the Ohio
Act. Moreover, Cottman and/or Ross are both “suppliers” and are meant to be subject
to the prohibitions contained within the Ohio Act.

157. Further, under the terms of the Ohio Act, it is unlawful for a supplier to
commit an unfair or deceptive act or practice in connection with a consumer transaction.
Such an unfair or deceptive act or practice by a supplier who violates the Ohio Act is
unlawful whether it occurs before, during, or after the transaction.

158. By and through the following conduct, Cottman and/or Ross have violated

the law of the State of Ohio:

i. Ross placed advertisements for Plaintiffs that contained significant
errors;

ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

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iii. After establishing individual “accounts” for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

iv. Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

159. Under the terms of the Act, and as a result of Cottman’s and/or Ross’
unlawful conduct, Plaintiffs C. James Blue, Xtranx, lnc., Eric J. Ebeling, EJE, lnc.,
Thomas C. Havaich, Havaich Transmission, LLC, John Mu|len, KJV Enterprises, lnc.,
Frank Tamburello, and Fragin, lnc. are entitled to recover damages, as well as
attorneys’ fees.

160. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY-ONE

VlOLAT|ON OF THE OK|=AHOMA CONSUMER PROTECT|ON ACT - OKLA. STAT.

TlT. 15, §§ 751 ET SEQ.

PLA|NT|FFS MARK EZELL , 2 MONKEYS, lNC., BOB MCWEENEY AND D|ANA

161.

MCWEENEY AGA|NST DEFENDANT COTTMAN

Plaintiffs reallege and incorporate by reference all of the allegations set

forth in the preceding paragraphs as though fully set forth herein.

162. Under the terms of the applicable law of the State of Oklahoma, Plaintiffs

Mark Ezell, 2 l\/lonkeys, lnc., Bob McWeeney, and Diana McWeeney are “persons”

under the terms of the Oklahoma Act.

163. Further, under the terms of the Oklahoma Act, it is unlawful for a

Defendant such as Cottman to engage in any unfair trade practices or deceptive trade

practices.

164. Defendant has violated the law of the State of Oklahoma by making the

following false representations and material omissions, which constitute unfair trade

practices or deceptive trade practices:

That Cottman System franchisees do not need automotive experience
to succeed;

That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

That the average sales for Cottman System franchisees were over
$500,000;

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

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vi.

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XV.

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff";

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

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165. Under the terms of the Act, and as a result of Defendant’s unlawful
conduct, Plaintiffs Mark Ezell, 2 Monkeys, lnc., Bob McWeeney, and Diana McWeeney
are entitled to recover their damages.

166. While the precise amount of each Plaintiffs damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT TWENTY-TWO
VlOLAT|ON 0F THE OKLAHOMA CONSUMER PROTECT|ON ACT - OKLA. STAT.
TlT. 15. §§ 751 ET SEQ.
PLA|NT|FFS MARK EZELL , 2 MONKEYS, lNC., BOB MCWEENEY AND D|ANA
MCWEENEY AGA|NST DEFENDANTS COTTMAN AND ROSS

167. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

168. Under the terms of the applicable law of the State of Oklahoma, Plaintiffs
Mark Ezell, 2 Monkeys, lnc., Bob McWeeney, and Diana McWeeney are “persons”
under the terms of the Oklahoma Act.

169. Further, under the terms of the Oklahoma Act, it is unlawful for Defendants
such as Cottman and Ross to engage in any unfair trade practices or deceptive trade
practices.

170. By and through the following conduct, which constitutes unfair trade
practices or deceptive trade practices, Defendants have violated the law of the State of

Oklahoma:

i. Ross placed advertisements for Plaintiffs that contained significant
errors;

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ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

iii. After establishing individual “accounts” for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

iv. Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

171. Under the terms of the Act, and as a result of Defendants’ unlawful
conduct, Plaintiffs Mark Ezell, 2 Monkeys, lnc., Bob McWeeney, and Diana McWeeney
are entitled to recover their damages.

172. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY-THREE
V|OLATlON OF THE TEXAS DECEPT|VE TRADERACT|CES ACT -
TEX. BUS. & COM. CODE ANN. §§ 17.41 ET SEQ.

PLA|NT|FFS MARK EZELL AND 2 MONKEYSl lNC. MARK A. WE|SBARTl
TRUSTEE {CUTLlP)l CUTL|P ENTERPR|SESl LLCl EATON AUTO SERV|CEl lNC.l
CHK ENTERPR|SES, lNC., DALE DABBS, TROY GEORGE, AND SCRATCH
ENTERPR|SESl lNC.

AGA|NST DEFENDANT COTTMAN

173. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

174. Under the terms of the applicable law of the State of Texas, Plaintiffs Mark
Ezell, 2 Monkeys, lnc., Mark A. Weisbart, Trustee, Cutlip Enterprises, LLC, Eaton Auto
Service, lnc., CHK Enterprises, lnc., Dale Dabbs, Troy George, and Scratch
Enterprises, lnc. are “persons" and “consumers” meant to be protected by the terms of

the Texas Deceptive Trade Practices Act.

175. Further, under the terms of the Texas Act, it is unlawful for a Defendant
such as Cottman to engage in any of the following conduct:

(a) Represent that goods or services have characteristics which they do
not have;

(b) Represent that services are of a particular standard if they are of
another;

(c) Represent an agreement confers or involves rights or remedies or
obligations which it does not have or involve; or

(d)Any unconscionable action or course of action that is a producing
cause of economic damage or damage for mental anguish to a
consumer.

176. Defendant has violated the law of the State of Texas by making the

following false representations and material omissions:

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vi.

vii.

viii.

xi.

xii.

That Cottman System franchisees do not need automotive experience
to succeed;

That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

That the average sales for Cottman System franchisees were over
$500,000;

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff”;

That Plaintiffs who purchased Cottman System stores from Cottman

franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

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xiii.

xiv.

XV.

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

177. Under the terms of the Texas Act, and as a result of Defendant’s unlawful

conduct, Plaintiffs Mark Ezell, 2 Monkeys, lnc., Mark A. Weisbart, Trustee, Cutlip

Enterprises, LLC, Eaton Auto Service, lnc., CHK Enterprises, lnc., Dale Dabbs, Troy

George, and Scratch Enterprises, lnc. are entitled to recover damages, attorneys’ fees

and costs.

178. While the precise amount of each Plaintiff’s damages cannot now be

determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY-FOUR
V|OLAT|ON OF THE TEXAS DECEPT|VE TRADE PRACT|CES ACT -
TEX. BUS. & COM. CODE ANN. §§ 17.41 ET SEQ.

PLA|NT|FFS MARK EZELL AND 2 MONKEYSl lNC. GARRY CUTL|Pll
CUTL|P ENTERPR|SESl LLCl EATON AUTO SERV|CEl lNC.l CHK ENTERPR|SESl
lNC., DALE DABBS, TROY GEORGE, AND SCRATCH ENTERPR|SES, lNC.
AGA|NST DEFENDANT COTTMAN AND ROSS

179. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

180. Under the terms of the applicable law of the State of Texas, Plaintiffs Mark
Ezell, 2 Monkeys, lnc., Garry Cutlip, Cutlip Enterprises, LLC, Eaton Auto Service, lnc.,
CHK Enterprises, lnc., Dale Dabbs, Troy George, and Scratch Enterprises, lnc. are
“persons” and “consumers” meant to be protected by the terms of the Texas Deceptive
Trade Practices Act.

181. Further, under the terms of the Texas Act, it is unlawful for Defendants

such as Cottman and Ross to engage in any of the following conduct:

(a) Represent that goods or services have characteristics which they do
not have;

(b) Represent that services are of a particular standard if they are of
another;

(c) Represent an agreement confers or involves rights or remedies or
obligations which it does not have or involve; or

(d)Any unconscionable action or course of action that is a producing
cause of economic damage or damage for mental anguish to a
consumer.

182. By and through the following conduct, Defendants have violated the law of

the State of Texas:

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i. Ross placed advertisements for Plaintiffs that contained significant
errors;

ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

iii. After establishing individual “accounts” for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

iv. Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

183. Under the terms of the Act, and as a result of Defendants’ unlawful
conduct, Plaintiffs Mark Ezell, 2 Monkeys, lnc., Garry Cutlip, Cutlip Enterprises, LLC,
Eaton Auto Service, lnc., CHK Enterprises, lnc., Dale Dabbs, Troy George, and Scratch
Enterprises, lnc. are entitled to recover damages, attorneys’ fees and costs.

184. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY-FlVE
V|OLAT|ON OF THE UTAH CONSUMER SALES PRACT|CES ACT -
UTAH CODE ANN. §§ 13-11-1 ET SEQ.
PLA|NT|FFS DALE KERSHNER, KS| ENTERPR|SES, lNC., KELLY H.
DOCKSTADER AND DOCKSTADER CORPORAT|ON
AGA|NST DEFENDANT COTTMAN

185. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

186. Under the terms of the applicable law of the State of Utah, Plaintiffs Dale
Kershner, KS| Enterprises, lnc., Kelly H. Dockstader and Dockstader Corporation are
involved both in “consumer transaction” and are “persons” under the definitions of the
Act, and therefore are entitled the protections of the Utah Consumer Sales Practices
Act.

187. Further, under the terms of the Utah Act, it is unlawful for a Defendant
such as Cottman to engage in a deceptive act or practice Without limitation, such acts

or practices include:

(a) indicating that the subject of a consumer transaction has performance
characteristics or benefits that it does not have;

(b) That the subject of a consumer transaction is of a particular standard
when it is not; or

(c) Engage in any other unconscionable act or practice
188. Cottman has violated the law of the State of Utah by making the following
false representations and material omissions:

i. That Cottman System franchisees do not need automotive experience
to succeed;

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vi.

vii.

viii.

xi.

xii.

Xiii.

That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

That the average sales for Cottman System franchisees were over
$500,000;

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff”;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the

good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge

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the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

xiv. That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

xv. That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

189. Under the terms of the Utah Act, and as a result of Defendant’s unlawful
conduct, Plaintiffs Dale Kershner, KS| Enterprises, lnc., Kelly H. Dockstader and
Dockstader Corporation are entitled to recover damages, as well as attorneys’ fees and
costs.

190. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT TWENTY-SlX
VlOLAT|ON OF THE UTAH CONSUMER SALES PRACT|CES ACT -
UTAH CODE ANN. §§ 13-11-1 ET SEQ.
PLA|NT|FFS DALE KERSHNER, KS| ENTERPR|SES, lNC., KELLY H.
DOCKSTADER AND DOCKSTADER CORPORAT|ON
AGA|NST DEFENDANT COTTMAN AND RCSS

191. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

192. Under the terms of the applicable law of the State of Utah, Plaintiffs Dale

Kershner, KS| Enterprises, lnc., Kelly H. Dockstader and Dockstader Corporation are

both involved in “consumer transactions” and are “persons” under the definitions of the

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Act, and therefore are entitled the protections of the Utah Consumer Sales Practices

Act.
193. Further, under the terms of the Utah Act, it is unlawful for Defendants such
as Cottman and Ross to engage in a deceptive act or practice Without limitation, such

acts or practices include:

(a) indicating that the subject of a consumer transaction has performance
characteristics or benefits that it does not have;

(b) That the subject of a consumer transaction is of a particular standard
when it is not; or

(c) Engage in any other unconscionable act or practice
194. By and through the following conduct, Defendants have violated the law of

the State of Utah:

i. Ross placed advertisements for Plaintiffs that contained significant
errors;

ii. Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

iii. After establishing individual “accounts” for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

iv. Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

v. Cottman has refused to provide Plaintiffs with accountings of individual
accounts, including an accounting of the amounts paid by each Plaintiff

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and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

195. Under the terms of the Utah Act, and as a result of Defendants’ unlawful
conduct, Plaintiffs Dale Kershner, KS| Enterprises, lnc., Kelly H. Dockstader and
Dockstader Corporation are entitled to recover damages, as well as attorneys’ fees and
costs.

196. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT TWENT¥-SEVEN
VlOLATlON OF THE WlSCONS|N FRANCH|SE lNVESTMENT LAW -
WlS. STAT. §§ 553.01 ET SEQ.
PLA|NT|FFS DOUGLAS R. SPE§R AND D&C SPEER |NVESTMElTs, LLC
AGA|NST DEFENDANTS COTTMAN AND LEFF

197. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

198. Under the terms of the applicable law of the State of Wisconsin, Plaintiffs
Douglas R. Speer and D&C Speer lnvestments, LLC are franchisees, and Defendant
Cottman is a franchisor.

199. Further, under the terms of the Wisconsin Act, it is unlawful for a
franchisor to engage in any of the following conduct:

(a) l\/laking or causing to be made, in any document filed with the Division
or in any proceeding under Wisconsin law any statement which is, at
the time and in the light of the circumstances under which it is made,
false or misleading in any material respect or, in connection with any
statement required to be made under the WF|L, omit to state a material

fact necessary in order to make the statement made, in light of the
circumstances under which they are made, not misleading; or

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(b) Offer or sell a franchise in Wisconsin by means of any written or oral

communication that includes an untrue statement of a material fact or
omits to state a material fact necessary in order to make the
statements made, in light of the circumstances under which they were
made, not misleading.

200. Cottman has violated the law of the State of Wisconsin by making the

following false representations and material omissions:

vi.

vii.

viii.

That Cottman System franchisees do not need automotive experience
to succeed;

That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

That the average sales for Cottman System franchisees were over
$500,000;

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training

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xi.

xii.

xiii.

xiv.

201.

program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff”;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with
the Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores,

Further, under the terms of the law of Wisconsin, Defendant Todd P. Leff

is jointly and severally liable as a “control person” of Defendant Cottman,

202.

Under the terms of the Act, and as a result of Defendants’ unlawful

conduct, Plaintiffs Douglas R. Speer and D&C Speer lnvestments, LLC are entitled to

rescind their franchise agreement and recover damages,

203. While the precise amount of each Plaintist damages cannot now be

determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TWENTY-ElGHT
COMMON LAW FRAUD AGA|NST DEFENDANTS COTTMAN AND LEFF

204. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

205. Defendants made false and material misrepresentations and omissions of
fact to the Plaintiffs, as set forth above Defendants made such statements and
material omissions knowing that they were false and intending that Plaintiffs rely upon
them in deciding to enter into franchise agreements with Cottman and to invest
hundreds of thousands of dollars in a franchise

206. The Plaintiffs reasonably relied upon the false representations and
material omissions of Defendants in making the decision to enter into a franchise and
invest in a Cottman System franchise as described more fully above

207. As a result of the Plaintiffs’ reliance upon the false representations of
Defendants, the Plaintiffs have lost thousands of dollars.

208. The Plaintiffs are entitled to rescind their franchise agreements and to
recover from Defendants rescission damages, consisting of the total of the amount
invested in their franchises, the total lost as a result of operation of the franchises, the
amount invested in mitigating damages, less the consideration received from
Defendants and any other benefits received from the franchises as well as the salvage

value of the assets, plus interest.

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COUNT TWENTY-N|NE
NEGL|G§NT MlSREPRESENTAT|ON
AGA|NST DEFENDANTS COTTMAN AND LEFF

209. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

210. Defendants had a duty to use reasonable care in making representations
and statements to prospective and new franchisees and to take reasonable care to
ensure that such statements and representations were not false or misleading

211. Defendants breached their duty of care to Plaintiffs by making false and
misleading representations and material omissions as set forth above

212. The Plaintiffs reasonably relied upon the false representations of
Defendants and their representatives in deciding to enter into their franchise
agreements and to invest in Cottman System franchises.

213. The Plaintiffs are entitled to rescind their franchise agreements and to
recover from Defendants rescission damages, consisting of the total of the amount
invested in their franchises, the total lost as a result of operation of the franchises, the
amount invested in mitigating damages, less the consideration received from
Defendants and any other benefits received from the franchises as well as the salvage
value of the assets, plus interest.

COUNT TH|RTY
BREACH OF CONTRACT AND THE
COVENANT OF GOOD FAlTH AND FAlR DEAL|NG AGA|NST DEFENDANT
COTTMAN
214. Plaintiffs reallege and incorporate by reference all of the allegations set

forth in the preceding paragraphs as though fully set forth herein.

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215. ln every contract, by operation of law, there is an implied covenant of good
faith and fair dealing, which requires the parties to the agreement to act in good faith
and in accordance with reasonable standards of fair dealing in the trade The implied
covenant also prohibits either party from engaging in any conduct or in doing anything
that deprives the other party of the fruits of the agreement or the benefit of the bargain.
The implied covenant requires that Cottman act reasonably in the performance of its
duties, and, among other things, refrain from engaging in conduct that would cause
Plaintiffs to operate at losses or to take actions that would cause Plaintiffs’ businesses
to fail.

216. Cottman has breached its express contractual duties and the implied
covenant of good faith and fair dealing to Plaintiffs by violating the terms of the parties’
agreements, and Plaintiffs’ reasonable expectations of Defendant’s performance
support, and assistance as prescribed under the parties’ franchise agreements and as
described more fully above

217. While the precise amount of Plaintiffs’ damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which Plaintiffs are entitled will be presented at a trial on the merits of this

matter.

COUNT TH|RTY-ONE
BREACH OF FlDUClARY DUTY AGA|NST DEFENDANTS COTTMAN
AND ROSS
218. Plaintiffs reallege and incorporate by reference all of the allegations set

forth in the preceding paragraphs as though fully set forth herein.

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219. The Defendants’ conduct as alleged above created a fiduciary relationship
between Defendants and Plaintiffs and imposed fiduciary duties on Defendants in favor
of the Plaintiffs. ln particular, Defendants acted as agents for Plaintiffs with respect to
purchasing and placing advertisement, management of Plaintiffs’ advertising accounts,
accounting for the amounts spent on behalf of individual Plaintiffs by Defendant
Cottman through its affiliate Ross, and as to acting as the listing agent for the sale of
certain Plaintiffs’ franchises.

220. The Defendants’ actions, as described above, constitute breaches of their
fiduciary duties toward Plaintiffs,

221. Each breach by the Defendants of their fiduciary duties was a proximate
cause of damages to each Plaintiff and entitles Plaintiffs to receive as disgorgement, all
amounts Plaintiffs paid to Defendants for advertising fees, and an accounting for each
Plaintiffs’ account.

COUNT TH|RTY-TWO
V|OLAT|ON OF SECTION 2(C) OF THE ROB|NSCN PATMAN ACT AGA|NST
DEFENDANT COTTMAN

222. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

223. Section 2(c) of the Robinson-Patman Act, 15 U.S.C._ 12 et seq., provides,
in relevant part, as follows:

lt shall be unlawful for any person engaged in commerce in the
course of such commerce to pay or grant, or to receive or accept,
anything of value as a commission, brokerage or other
compensation, or any allowance or discount in lieu thereof, except
for services rendered in connection with the sale or purchase of
goods, wares, or merchandise either to the other party to such

transaction or to an agent, representative or other intermediary
therein

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224. Cottman engages (or has engaged) in commerce by, among other things,
establishing contracts for the provision of equipment, insurance advertising and other
services and accessories to Cottman franchisees throughout the United States.

225. Cottman has entered into exclusive and/or preferred contracts with
particular vendors to provide equipment, insurance advertising and other services and
accessories to franchisees ln this connection, Cottman has solicited and accepted
payments and other value from third-party vendors (“payments”) in exchange for
granting such vendors the opportunity to access and provide equipment, insurance
advertising and other services and accessories to the franchisees and to execute
agreements to sell equipment, insurance advertising and other services and
accessories to the franchisees.

226. These payments are in fact kickbacks which have been rendered in
connection with the sale or purchase of equipment, insurance advertising and other
services and accessories by Cottman’s franchisees

227. The franchisees have been injured and may continue to be injured by
these acts because they are restricted in their choice of and access to independent
vendors and consequently have paid prices for equipment, insurance advertising and
other services and accessories that were higher than they would have paid in the
absence of Cottman’s kickback scheme

228. Cottman’s kickback scheme is per se unlawful and constitutes per se

competitive injury.

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229. By reason of the foregoing, Cottman has violated Section 2(c) of the
Robinson-Patman Act, and the Plaintiffs are entitled to treble damages therefor, the
costs of this litigation, attorneys’ fees and prejudgment interest, pursuant to 15 U.S.C._
15(a).

COUNT TH|RTY-THREE
VlOLAT|ON OF RlCO: 18 U.S.C. § 1962(b) AGA|NST DEFENDANT COTTMAN

230. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

231. Cottman has violated the civil provisions of the RlCO Statute as described
more fully below.

232. Under 18 U.S.C. § 1964(c)

any person injured in his business or property by reason of a
violation of section 1962 of this chapter may sue therefore in
any appropriate United States district court and shall recover
threefold the damages he sustains and the cost of the suit,
including a reasonable attorneys’ fee....

233. Under 18 U.S.C. § 1961(3), a “person” for the purposes of the Civil RlCO
statute is defined as “any individual or entity capable of holding a legal or beneficial
interest in a property."

234. The RlCO statute defines the term “enterprise" to include “any individual,
partnership, corporation, association, or other legal entity, and any union or group of
individuals associated in fact although not a legal entity." 18 U.S.C. § 1961(4).

235. Cottman is a “person” within the meaning of the RlCO Statute as set forth
above The association of Cottman and Ross constituted an “enterprise" as that term is

defined in the RlCO Statute

236. Under 18 U.S.C. § 1962(b):

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[l]t is unlawful to acquire or maintain any interest in, or
control of, any enterprise that is engages in or affects
interstate or foreign commerce through a pattern of
racketeering activity or collection of any unlawful debt.

237. Section 1961(1) of RlCO defines “racketeering activity” to include any of
the enumerated predicate acts listed in section 1961(1). included in the list of predicate
acts are “extortion”, “mail fraud” and “wire fraud.”

238. Under 18 U.S.C. § 1951(b)(2), extortion is defined as follows:

The term "extortion" means the obtaining of property from
another, with his consent, induced by wrongful use of actual
or threatened force violence or fear, or under color of
official right.

Under 18 U.S.C. § 1341, mail fraud is defined as follows:

Whoever, having devised or intending to devise any scheme
or artifice to defraud, or for obtaining money or property by
means of false or fraudulent pretenses, representations or
promises for the purpose of executing such a scheme of
artifice or attempting to do so, places in any post office or
authorized depository for mail matter, any matter or thing
whatever to be sent or delivered by the Postai Service, or
deposits or causes to be deposited any matter or thing
whatever to be sent or delivered by any private or
commercial interstate carrier, or takes or receives therefrom,
any such matter or thing, or knowingly causes to be
delivered by mail according to the direction thereon, or at the
place at which it is directed to be delivered by the person to
whom it is addressed, any such matter or thing....

Under 18 U.S.C. § 1343, wire fraud is defined as follows:

Whoever, having devised or intending to devise any scheme
or artifice to defraud, or for obtaining money or property by
means of false or fraudulent pretenses representations or
promises, transmits or causes to be transmitted by means of
wire radio, television, communication in interstate or foreign
commerce any writings, signs, signals, pictures, or sounds
for the purpose of executing such a scheme or artifice..

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239. At all times relevant to the claims made herein, Cottman has acquired and
maintained an interest in, and control of, the enterprise consisting of both Cottman,
Ross, and Cottman Communications, and their collusion together, by engaging in the
false fraudulent, and illegal acts set forth above which took place in interstate
commerce which constituted acts of extortion, wire fraud and mail fraud - i.e., sending
misleading and false offering circulars and other documents through the mails making
false and fraudulent statements via the telephone and othen/vise and using wrongful
threats of economic harm to obtain property from franchisees to which Cottman was not
contractually entitled.

240. The activities of the enterprise of Cottman and Ross constituted a pattern
of racketeering in that the activities were both continuous and related: the false acts
were ali intended to induce scores of persons to become franchisees of Cottman; to
assent to Ross’ provision of advertising; to provide false accounting to franchisees of
the amounts and costs of advertising placed by Ross; to coerce individual franchisees
to pay Cottman more money than they were obligated to pay under their franchise
agreements; and to acquire title to certain failed franchises Defendants induced many
persons to become franchisees under franchise agreements pursuant to which they
would continue to pay Cottman for advertising fees for many years, and the scheme
threatens to continue

241. Plaintiffs have been injured in their business and property as a result of
Defendant’s violations of 18 U.S.C. § 1862(b). Specifically, Plaintiffs have been
deprived of the amounts that they paid to Cottman pursuant to the franchise

agreements and for additional amounts As a direct and proximate result of

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Defendant’s violations of 18 U.S.C. § 1862(b), Plaintiffs have suffered damages in an
amount undetermined at this time but believed to be in excess of $75,000, which will be

demonstrated at trial.

COUNT TH|RTY-FOUR
V|OLAT|ON OF RICC: 18 U.S.C. § 1962(6) AGA|NST COTTMAN

242. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

243. Under 18 U.S.C. § 1962(0):

lt is unlawful for any person to conduct or participate in the
conduct of the affairs of an enterprise that is engaged in or
affects interstate or foreign commerce through a pattern of
racketeering activity or collection of an unlawful debt.

244. At all times relevant hereto, Cottman has either conducted or participated
in an ongoing and continuous enterprise designed to induce scores of persons to
become franchisees of Cottman; to assent to Ross’ provision of advertising services as
individual franchisees’ agents; and to coerce individual franchisees to pay more money
than they were obligated to pay under their franchise agreements which continuous
effort constituted a pattern of racketeering activity.

245. The enterprise engaged in interstate commerce to accomplish its scheme
of defrauding, deceiving, and threatening Plaintiffs, and its actions affected interstate
commerce in that the amounts Cottman received were based on the sale and purchase
of items that crossed state lines

246. Defendant’s receipt of the funds paid by Plaintiffs harmed Plaintiffs’

businesses in that those amounts should have inured to the Plaintiffs’ benefit, rather

than that of Cottman.

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247. Plaintiffs have been injured in their business and property as a result of
Defendants’ violations of 18 U.S.C. § 1862(c). Plaintiffs have been deprived of the
amounts that they paid to Cottman pursuant to the franchise agreements and for
additional amounts As a direct and proximate result of Cottman’s violations of 18
U.S.C. § 1862(0), Plaintiffs have suffered damages in an amount undetermined at this
time but believed to be in excess of $75,000, which will be demonstrated at trial.

COUNT TH|RTY-FlVE
VlOLATlON OF RlCO: 18 U.S.C. § 1962(d) AGA|NST DEFENDANT
COTTMAN

248. Plaintiffs reallege and incorporate by reference all of the allegations set

forth in the preceding paragraphs as though fully set forth herein.

249. Under 18 U.S.C. § 1962(d) it is unlawful:

For any person to conspire to violate any of the provisions of
subsection (a), (b), or (c) of this section.

250. At all times relevant hereto, Defendant Cottman has conspired with Ross
and Cottman Communications in violation of Sections 1962(b) and (c), as alleged
above

251. Plaintiffs have been injured in their business and property as a result of
Defendant’s violations of 18 U.S.C. § 1862(b). Specifically, Plaintiffs have been
deprived of the amount of the money that Cottman has obtained unlawfully by reason of
the conspiracy. As a direct and proximate result of Cottman’s violations of 18 U.S.C. §
1862(d), Plaintiffs have suffered damages in an amount undetermined at this time but

believed to be in excess of $75,000, which will be demonstrated at trial.

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COUNT TH|RTY-S|X
VlOLATlON OF NEW JERSEY CONSUMER FRAUD ACT - N.J. STAT. ANN. §§
56:8-1 ET SEQ.
PLA|NT|FFS OZZ|E BOMBARO, FlRST QUALlTY, lNC., AND JOHN PALMER
AGA|NST DEFENDANT COTTMAN

252. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

253. Under the terms of the applicable law of the State of New Jersey, Plaintiffs
Ozzie Bombaro, First Quality, lnc., and John Paimer are persons entitled to protection
of the New Jersey Act.

254. Further, under the terms of the New Jersey Act, it is unlawful for a
Defendant such as Cottman to act, use or employ any unconscionable commercial
practice deception, fraud, false pretense false promise misrepresentation, or the
knowing concealment, suppression, or omission of any material fact with intent that
others rely upon such concealment, suppression, or omission, in connection with the
sale or advertisement of any merchandise or real estate or at the subsequent
performance of such person as aforesaid, whether or not any person has in fact been
misled, deceived, or damaged thereby.

255. Defendant has violated the law of the State of New Jersey by making the

following false representations and material omissions:

i. That Cottman System franchisees do not need automotive experience
to succeed;

ii. That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening.

iii. That the average sales for Cottman System franchisees were over
$500,000;

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vi.

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xiv.

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff”;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a

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result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

xv. That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores

256. Under the terms of the New Jersey Act, and as a result of Defendant’s
unlawful conduct, Plaintiffs Ozzie Bombaro, First Quality, lnc., and John Paimer are
entitled to recover damages, as well as attorneys’ fees and costs.

257. While the precise amount of each Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

COUNT TH|RTY-SE!EN
VlOLATlON OF NEW JERSEY CONSUMER FRAUD ACT - N.J. STAT. ANN. §§
56:8-1 ET SEQ.
PLA|NT|FFS OZZ|E BOMBARO, FlRST QUAL|T¥, lNC., AND JOHN PALMER
AGA|NST DEFENDANTS COTTMAN AND ROSS

258. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

259. Under the terms of the applicable law of the State of New Jersey, Plaintiffs
Ozzie Bombaro, First Quaiity, lnc., and John Paimer are persons entitled to protection
of the New Jersey Act.

260. Further, under the terms of the New Jersey Act, it is unlawful for
Defendants such as Cottman and Ross to act, use or employ any unconscionable

commercial practice deception, fraud, false pretense false promise misrepresentation,

or the knowing concealment, suppression, or omission of any material fact with intent

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that others rely upon such concealment, suppression, or omission, in connection with

the sale or advertisement of any merchandise or real estate or at the subsequent

performance of such person as aforesaid, whether or not any person has in fact been

misled, deceived, or damaged thereby.

261.

By and through the following conduct, Defendants have violated the law of

the State of New Jersey:

Ross placed advertisements for Plaintiffs that contained significant
errors;

Ross has consistently failed to secure the best prices for Plaintiffs
(despite representing nearly 400 franchisees in the Cottman System,
Plaintiffs were frequently able to secure lower prices for advertising
themselves but were forced by Cottman to allow Ross to place their
advertising, all without any explanation for the higher prices);

After establishing individual “accounts” for Plaintiffs, Ross overspent,
overcharged, and falsely and/or inaccurately accounted for individual
Plaintiff’s “accounts,” and Cottman demanded additional payments
from franchisees over the advertising fees due under their franchise
agreements and threatened to suspend, and, in many cases did
suspend, advertising and telephone services for the Center’s
telephone numbers when Plaintiffs were unable or unwilling to pay
Cottman these additional payments;

Cottman failed to refund the unspent amounts in a Plaintiff’s account
when that Plaintiff closed or transferred their franchise; and

Cottman has refused to provide Plaintiffs with accountings of individual
accounts including an accounting of the amounts paid by each Plaintiff
and evidence of the purchases and actual placements of
advertisements on behalf of each Plaintiff by Ross.

262. Under the terms of the New Jersey Act, and as a result of Defendants’

unlawful conduct, Plaintiffs Ozzie Bombaro, First Quaiity, lnc., and John Paimer are

entitled to recover damages, as well as attorneys’ fees and costs.

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263. While the precise amount of Plaintiff’s damages cannot now be
determined with precision, such damages are in excess of $75,000. A more precise
amount to which each Plaintiff is entitled will be presented at a trial on the merits of this
matter.

COUNT TH|RTY-ElGHT
VlOLAT|ON OF THE NEW YORK FRANCH|SE SALES ACT
N.Y. GEN. BUS. L§§ 680 l§T SEQ.

PLA|NT|FFS CHARLES DAV|DSON, C&F HAUGH, lNC., BlG D MANAGEMENT,
TAMESHWAR RAMLALL, JET SEAL, LLC, JOHN STURTEVANT, AND
STURTEVANT GROUP, lNC. AGA|NST DEFENDANTS COTTMAN AND LEFF

264. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

265. Under the terms of the applicable law of the State of New York, Plaintiffs
Charles Davidson, C&F Haugh, lnc., Big D Management, Tameshwar Ramlall, Jet Seal,
LLC, John Sturtevant, and Sturtevant Group, lnc. are franchisees and Defendant
Cottman is a franchisor, within the meaning of N.Y. Gen. Bus. L. § 680 et seq.

266. Further, under the terms of the New York Franchise Sales Act, it is
unlawful for a franchisor to engage in any of the following conduct:

(a) Make any untrue statement of a material fact in any application, notice
statement, prospectus or report filed with the department, or willfully to
admit to state in any such application, notice statement, prospectus or
report any material fact which is required to be stated therein, or to fail

to notify the department of any material change;

(b) Employ any device scheme or artifice to defraud in connection with
the offer, sale or purchase of any franchise;

(c) Make any untrue statement of material fact or omit to state a material
fact necessary in order to make the statements made in the light of the
circumstances under which they were made not misleading, in
connection with the offer, saie, or purchase of any franchise; or

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(d) Engage in any act, practice or course of business which operates or

would operate as a fraud or deceit upon any person in the offer, sale
or purchase of any franchise

267. Cottman has violated the law of the State of New York by making the

following false representations and material omissions:

vi.

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viii.

That Cottman System franchisees do not need automotive experience
to succeed;

That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening

That the average sales for Cottman System franchisees were over
$500,000;

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

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xi.

xii.

Xiii.

xiv.

XV.

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff’;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements
without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into
AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores

268. Further, under the terms of the law of New York, Defendant Leff is jointly

and severally liable as “control person” of Defendant Cottman.

269. Under the terms of the Act, and as a result of Defendants’ unlawful

conduct, Plaintiffs Charles Davidson, Big D Management, C&F Haugh, lnc., Tameshwar

Ramlall, Jet Seal, LLC, John Sturtevant, and Sturtevant Group, lnc. are entitled to

recover damages, as well as costs and attorneys’ fees

270. While the precise amount of each Plaintiffs damages cannot now be

determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

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COUNT TH|RTY-N|NE
VlOLATlON OF THE V|RGlNlA RETA|L FRANCH|S|NG ACT -
VA. CODE ANN. §§ 13.1-557 ET SEQ.
PLA|NT|FFS MARK LAWTON, LUC|NDA KATZ_, KATZ-LAWTON, lNC.l
MAX TOTTEN, AND CHARlOTS LTD., lNC.
AGA|NST DEFENDANT COTTMAN

271. Plaintiffs reallege and incorporate by reference all of the allegations set
forth in the preceding paragraphs as though fully set forth herein.

272. Under the terms of the Virginia Retail Franchising Act, Plaintiffs Mark
Lawton, Lucinda Katz, Katz-Lawton, lnc., Max Totten, and Chariots Ltd., lnc. are
franchisees and Defendant Cottman is a franchisor.

273. Further, under the terms of the Virginia Retail Franchising Act, it is
unlawful for a franchisor to engage in any of the following conduct:

(a) Empioy any device scheme or artifice to defraud;

(b) Make any untrue statement of material fact or to omit to state a
material fact necessary in order to avoid misleading the offeree; or

(c) To engage in any transaction, practice or course of business which
operates or would operate as a fraud upon the franchisee

274. Cottman has violated the law of the State of Virginia by making the
following false representations and material omissions:

i. That Cottman System franchisees do not need automotive experience
to succeed;

ii. That Cottman System franchisees could expect to “break even,” i.e., to
have neutral or positive cash flows, within two to three months after
opening

iii. That the average sales for Cottman System franchisees were over
$500,000;

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vi.

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Xiii.

xiv.

That the average profit realized by Cottman System franchisees was
over $100,000;

That only a minimal number of Cottman System franchisees had
closed their franchised stores in the previous years;

That Cottman, through Ross, would provide appropriate, effective
advertising for the franchisees’ local and regional markets;

That Cottman, through Ross, would charge a maximum 10%
commission for advertising placed by Ross on a franchisee’s behalf
when there was no commission charged by the media;

That Cottman, through Ross, would assign each franchisee their own
advertising department representative to develop advertising to
effectively “focus solely on your market and the area surrounding your
center”;

That Cottman would provide appropriate, effective pre-opening
services, including site selection and lease negotiation assistance,
demographic studies and site ranking, financing assistance, and store
layout and design assistance;

That Cottman would provide franchisees “complete and total support”
after opening their franchise stores, including an intensive training
program, and assistance in locating and providing skilled transmission
repair technicians;

That Cottman had a National Recruiting Department available to
provide lists of qualified transmission technicians that would provide
franchisees “top notch technical staff’;

That Plaintiffs who purchased Cottman System stores from Cottman
franchisees could rely upon the sales and financial information
provided by those Cottman franchisees;

That Cottman would “continue to develop, promote and protect the
good will and reputation associated with the Cottman names and
marks”; Cottman’s parent company has announced that it will merge
the Cottman System out of existence over the next three years,
destroying the value of the goodwill and reputation associated with the
Cottman names and marks;

That Cottman would not terminate franchisees’ franchise agreements

without cause or an opportunity to cure any defects, when, in fact, as a
result of Cottman’s, decision to merge the Cottman System into

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XV.

AAMCO, and therefore out of existence, Cottman has effected a de
facto termination of then-existing Cottman System franchisees’
franchise agreements; and

That Cottman’s goal was to sell franchises and then assist its
franchisees to successfully operate their Cottman System stores.

275. Under the terms of the Virginia Act, and as a result of Cottman’s unlawful

conduct, Plaintiffs Mark Lawton, Lucinda Katz, Katz-Lawton, lnc., Max Totten, and

Chariots Ltd., lnc. are entitled to recover damages, as weil as costs and attorneys’ fees

276. While the precise amount of each Plaintiffs damages cannot now be

determined with precision, such damages are in excess of $75,000. A more precise

amount to which each Plaintiff is entitled will be presented at a trial on the merits of this

matter.

WHEREFORE, the Plaintiffs respectfully request that this Court enterjudgment:

A.

Rescinding and/or declaring terminated the franchise agreements of
the Plaintiffs;

Enjoining Defendants’ continued violation of state franchise protection
and consumer fraud acts;

Awarding rescission damages consisting of the amount that they have
invested in the franchise less consideration received and the salvage
value of the franchise;

Awarding such treble damages compensatory, consequential and
incidental damages as the franchisees have suffered as provided
under the federal RlCO statute 18 U.S.C, § 1964(c), the Robinson-
Patman Act, 15 U.S.C. § 15(a), state consumer fraud and deceptive
and unfair trade practices acts and at common law; and

Awarding attorneys’ fees and costs such other and further relief as this
Court deems just and proper.

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Dated: % /7,,900?

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DADY & GARNER, P.A.

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